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                DEF CON Conference Transparency Report                                                                            DEF CON Sites
                Since DEF CON 25, we have started to share a summary of incidents we are
                aware of that happened at the convention for a given year.

                My hope is that by doing this DEF CON will encourage other conventions to                          Forums          Groups          Media       InfoCon.org
                duplicate this reporting and share their data so collectivly we can shed some                                                      Server
                light on the challenge we face in creating more safe and inclusive events.
                                                                                                                                     The Goods
                - The Dark Tangent




                Pre DEF CON 30                                                                                         Official Swag             Conference Recordings


                (Updates before DC 30) Transparency Report
                                                                                                                                    Past Media
                (2022 July 28)
                It has been a surreal and humbling experience to literally grow up with the
                community of hackers that developed over the last 30 years. It started with an                   Torrents Page          DEF CON             InfoCon.org
                inclusive call for hackers, lawyers, artists, feds, #hack, #phreak, basically                                          Media Server
                everyone interested, to attend the first, small, DEF CON. As I grew up IRL, so
                did the convention. I learned to accept some hard truths such as “You can’t
                please all people all of the time” and “Do what you can, when you can.” I
                have always tried to stay true to the core of DEF CON and the Hacker Ethos,
                even when change is not comfortable or convenient.

                In 2015, we introduced a formal Code of Conduct and in 2017, we began
                publishing post-event transparency reports with statistics about the incidents
                we are aware of. In 2018, we launched a hotline for attendees to
                anonymously report behavior violating our Code of Conduct or to connect
                with a trained and empathic ear. All of this has been a team effort made
                possible by incredibly smart, compassionate, and capable staff, volunteers,
                and community supporters.
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               As we prepare to celebrate three decades of DEF CON, we’re constantly
               learning what it means to effectively support an evolving community with
               transparency and empathy. So today, we’re publishing details about our
               escalation process when we receive reports of Code of Conduct violations.


               What does DEF CON do with Code of Conduct
               violation reports?
               In the past, individual community members shouldered too much of the
               burden to protect each other using whatever means they could. We, the
               event organizers, must be better.

               Our code of conduct is simple: “We do not condone harassment against any
               participant, for any reason. Harassment includes deliberate intimidation and
               targeting individuals in a manner that makes them feel uncomfortable,
               unwelcome, or afraid.”

               To be clear, the term “harassment” encompasses any behavior that makes
               others feel uncomfortable or unsafe.

               When we receive a report of a Code of Conduct violation, our leadership
               team representing multiple functions and departments, conducts a review of
               the substance in consultation with our attorney as needed. This usually
               involves speaking with parties named in the report including potential
               witnesses, alleged offender(s), and victim(s).

               We then review all the evidence available to us through community reports,
               news media, and internal investigations to determine whether the allegations
               are substantiated. Most of the reports we receive are for minor violations that
               result in a warning, but severe allegations may require a referral to hotel
               security and/or law enforcement, especially if the report includes claims of
               criminal behavior.

               Please remember all DEF CON attendees are guests of both the conference
               and the hosting property, which has its own Code of Conduct and rules. The
               property will remove anyone that breaks their rules and will prevent you from
               attending the conference in the future.


               Does DEF CON publish report details?
               Our transparency report includes the number and category of incidents that
               are reported during the DEF CON conference each year. We also respond to
               reports through the year and publish updates for the community about major
               incidents that occur between events. Repeat offenders and those who
               commit more egregious offenses are permanently banned from our events. In
               the case of the most troubling offenses or those who we feel may represent
               an ongoing risk to the community, we take the extra step of naming them
               publicly. We believe we have an obligation to the community not to provide
               cover for these individuals to quietly find new and unsuspecting victims
               elsewhere. When we disclose this information, we do so to protect the DEF
               CON community, not to act as a public trial.

               If the report of harassment presents a risk of immediate or future retaliation,
               or at the request of the reporting individual, we will take measures to protect
               their identity and/or details of the accusations. We’ve adopted these
               safeguards based on recommendations from the National Network to End
               Domestic Violence and the Violence Against Women Office at the US
               Department of Justice.

               When affected individuals feel safe and comfortable doing so, they may
               approach alleged offenders about inappropriate behavior and ask them to
               stop. However, disparity in power or status, fear of retaliation, or the nature of
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               the behavior may make direct confrontation difficult, and therefore there is no
               requirement for such action to be taken before DEF CON begins our
               investigation. In fact, retaliation is itself a violation of our Code of Conduct,
               which states:

               “We do not condone harassment against any participant, for any reason.
               Harassment includes deliberate intimidation and targeting individuals in a
               manner that makes them feel uncomfortable, unwelcome, or afraid.”

               As a private event and organization, we reserve the right to prioritize
               protecting the privacy of reporting individuals and victims of abusive behavior
               above other potential interests. Additionally, as private property, the hotel can
               trespass individuals permanently banned from DEF CON, creating a criminal
               and physical barrier between those individuals and the conference areas.

               Anyone can report harassment. If you are at DEF CON and are being
               harassed, notice that someone else is being harassed, or have any other
               concerns, you can let us know by contacting any Goon, registration desk, or
               info booth, as well as by calling or texting the hotline at 725-222-0934. As a
               reminder, you can also contact the hotline during the con if you just need
               someone supportive to talk to.

               You can also file a report year-round by contacting safety@defcon.org. We
               encourage individuals to report CoC violations as soon as they’re able to so
               we can begin our investigation before evidence is lost or destroyed, but it’s
               never too late to make a report.

               - The Dark Tangent




               Post DEF CON 29
               (Updates between DC 29 and DC 30) Transparency Report

               (2022 Feb 9)

                1. We received multiple CoC violation reports about a DEF CON Village leader,
                   Chris Hadnagy of the SE Village. After conversations with the reporting
                   parties and Chris, we are confident the severity of the transgressions merits
                   a ban from DEF CON.

                2. We have also taken the rare action to disband the DEF CON Group
                   DCG414. Code of Conduct violations by the group's primary Point of Contact
                   and subsequent mishandling of the event left us without confidence in the
                   group’s leadership.




               DEF CON 29
               (2021 August 5-8) Transparency Report
               From our [closing ceremony] transparency report announcement:


               DEF CON 29 – Virtual
               Of 95,562+ total messages the moderation team deleted 127 (0.13%)
               We received 30 reports via “Report-a-violation feature.”

               Across the 34,321+ accounts on the DEF CON Discord, the moderation
               team:
               * Warned 45 users (0.05%)
               * Temporarily Muted 50 users (0.05%)
               * Kicked 7 users (0.02%)
               * Banned 6 users (0.017%)
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                 DEF CON 29 - Physical
                 Medical & Health:
                 7 medical emergencies 4 requiring EMTs
                 4 mental health issues requiring specialist support
                 [we noticed a significant number of attendees struggling this year and asked
                 the community to have each others backs]

                 Menstrual Products
                 Now Provided in all convention area restrooms, regardless of gender.
                 Estimated 850+ of these were distributed

                 Policy & Conduct
                 1 lost passport
                 3 photo policy violations
                 3 suspicious packages
                 2 people removed for not masking
                 Approx 25 turned away for not being vaccinated
                 2 removed by security from Vaccination check



             x

                 DEF CON 27
                 Estimated number of people : 30k+
                 Announced at closing ceremonies August 11, 2019

                 #   Description
                 6   Harassment
                 1   Sexual Assault
                 2   Theft/Loss
                 3   Bans/Trespasses
                 2   Falling Ceiling
                 2   Foiled Attacks on Casino
                 1   Biblical Grasshopper Plague
                 2   Warnings Issued to Our Staff
                 1   Staff Member Dismissed
                 5   Drunk and Disorderly
                 5   Photo Policy Complaints
                 1   Media Company Ejected
                 1   Hotel Safety-Security Issue
                 1   Failed Troll Attempt/ Self Own



                 Support Line Stats
                 Available each day of the conference rom 0800-0400
                 Completely anonymous
                 Trained community volunteers

                 # Description
                 29 Total Calls
                 12 Code of Conduct Reports
                 5 Referrals to Para-Professional Counseling
                 1 Legal Issue
                 1 Person Trapped Back of House




                 DEF CON 26
                 Estimated number of people: 28,000+
                 Announced at closing ceremonies August 12th, 2018

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                #   Description
                3   Harassment
                7   Sexual Harassment
                1   Sexual Assault

                7   Medical Incidents
                2   Theft
                3   Vandalism
                1   Tresspassing
                1   Falling Ceiling
                1   Badge Makers Exonerated
                1   Attacks On Casino Foiled
                1   Dust Storms / Flash Flood
                1   Other Event’s Attendees Claiming We Hacked Them
                1   Warnings Issued To Our Staff

               Support Line Stats
               Available each day of the conference from 08:00 to 04:00
               Completely anonymous
               Trained community volunteers

                # Description
                62 Total Calls
                42 General Information Calls
                3 Harassment Calls
                5 Sexual Harassment Calls
                1 Medical Help Calls
                1 Concern Over Drink Tampering




               DEF CON 25
               Estimated number of people: 25,000+
               Announced at closing ceremonies July 30th 2017

                # Description
                7 Harassment reports (Code of Conduct violations)
                including:
                2 People banned for life due to harassing women
                1 Person banned for life for harassing hotel staff
                1 Person fled before we could identify and ban them for
                harassing a woman

                9   Medical incidents leading to 4 hospital transports
                3   Thefts
                1   Vicious Dog report
                3   Adorable Dog reports
                3   Vandalism to DEF CON or hotel property
                2   Trespass on hotel property
                2   People un-banned for life by the hotel

               Notes:
               A DEF CON ban is a prohibition against a person or group from attending
               future conventions due to bad behavior. DEF CON conveys the information to
               the hotel and if a banned person returns they will be "trespassed" by hotel
               security and possibly prosecuted.

               A hotel ban is a ban instituted by the hotel for bad behavior against the hotel
               or its interests and is outside of our control. You anger the hotel, you deal with
               the hotel.

               Other notable bans:
               DEF CON also monitors news reports and community forums for potential
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               bad actors to exclude from our conventions, like we did with Jake
               Applebaum, John Draper aka Captain Crunch, and Morgan Marquis-Boire,
               who have all been banned.



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